         Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 1 of 9




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER             CASE NO. 3:18-MD-02843-VC-JSC
PRIVACY USER PROFILE LITIGATION,
                                           AMENDED ORDER RE: PLAINTIFFS’
                                           MOTION TO COMPEL PRODUCTION
This document relates to:                  OF PLAINTIFF DATA

ALL ACTIONS




AMENDED ORDER RE: PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA
           Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 2 of 9




                                         INTRODUCTION

           1.    Pending before Special Master Garrie is Plaintiffs’ Motion to Compel Production

of Named Plaintiffs’ Content and Information.

                                          BACKGROUND

           2.    On November 25, 2019, Plaintiffs’ served Requests for Production Nos. 9-13,

which seek documents relating to the named Plaintiffs in this matter (“Named Plaintiffs”).1 See

Plaintiffs’ Motion to Compel Production of Named Plaintiffs’ Content and Information, Exhibit

1. In brief, Request No. 9 seeks all documents relating to each of the Named Plaintiffs; Request

No. 10 seeks documents sufficient to show the categories of content and information Facebook

collects, tracks, and maintains about them; and Requests Nos. 11-13 seek documents identifying

third parties that were able to access information about the Named Plaintiffs. Id.

           3.    In response to Requests for Production Nos. 9-13, Facebook produced more than

one million pages of individual user data it maintained relating to the Named Plaintiffs, most of

which was obtained from the “Download Your Information” tool (“DYI Tool”).2 The data

obtained from the DYI Tool is mostly limited to information pertaining to users’ on platform

Facebook activity. See Facebook’s Opposition to Plaintiffs’ Motion to Compel Production of

Named Plaintiffs’ Content and Information, Exhibit B.

           4.    Statements by Facebook’s counsel during an August 14, 2020 discovery hearing

indicated that Facebook maintained additional data related to the Named Plaintiffs that was not

produced. See 8/14/2020 Discovery Hearing Transcript at 8:10-13 (“There is other – there’s



1
    There were originally 30 named Plaintiffs, but this has been reduced to nine named Plaintiffs.
2
  The DYI Tool is a tool by which Facebook users can download certain pieces of information
related to the user’s Facebook activity and related data. A list of the types of information that can
be downloaded via the DYI Tool is provided in Exhibit B.
                                                  1
        AMENDED ORDER AS OF DECEMBER 29, 2021 RE: PLAINTIFFS’ MOTION TO COMPEL
                           PRODUCTION OF PLAINTIFF DATA
          Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 3 of 9




Facebook-generated information, information generated by third parties, information received

from third parties. We have not represented that that is comprehensively included in our

production.”).

          5.     Plaintiffs filed a motion last September to compel additional discovery related to

Requests for Production Nos. 9-13. See Plaintiffs’ Motion to Compel Production of Named

Plaintiffs’ Content and Information, Exhibit 4. Plaintiffs asked the Court to compel production of

sensitive information Facebook derives and collects from business partners, app developers,

apps, and other sources. This request included “native, appended and behavioral data” and

purportedly anonymized data that could be connected to the Named Plaintiffs. Id. at 7-11.

          6.     On October 8, 2020, Facebook responded to Plaintiffs’ motion to compel. See

Plaintiffs’ Motion to Compel Production of Named Plaintiffs’ Content and Information, Exhibit

3. Facebook contended that all information related to the Named Plaintiffs that they did not

themselves share on Facebook was outside the scope of the case; that all information not shared

through one of the four theories of the case was not within the scope of the case; that Plaintiffs

were not entitled to all data collected from third parties about the Named Plaintiffs; that the

Stored Communications Act and Video Protection Privacy Act claims did not require the

production of additional data Facebook had collected about the Named Plaintiffs; and that

Facebook could not reasonably collect any of the additional information Plaintiffs sought. Id. at

6-10.

          7.     On October 29, 2020, Judge Corley issued Discovery Order No. 9, ruling “that

discovery is not as limited as Facebook contends” and “the discoverable user data at issue

includes: [1] Data collected from a user’s on-platform activity; [2] Data obtained from third




                                                  2
        AMENDED ORDER AS OF DECEMBER 29, 2021 RE: PLAINTIFFS’ MOTION TO COMPEL
                           PRODUCTION OF PLAINTIFF DATA
         Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 4 of 9




parties regarding a user’s off-platform activities; and [3] Data inferred from a user’s on or off-

platform activity.” See Discovery Order No. 9 at 2.

        8.     In Discovery Order No. 11, Judge Corley provided further clarification on the

discoverable user data intended to be included under Discovery Order No. 9:

       It also contended that Plaintiffs conceded that user data not shared with or
       accessible to third parties is not relevant, (Dkt.No. 548 at 10), and because
       Facebook does not share inferred user data, the inferred user data Facebook
       maintains is not relevant. Facebook both collects and uses data about its users as
       part of its business model, including data derived from third parties. How it
       specifically uses this data is an open question, but if the Court were to accept
       Facebook’s arguments about the scope of production, it would eliminate Discovery
       Order No. 9’s third category of discovery: data inferred from a user’s on or off-
       platform activity. What is needed now is more detail about Facebook’s collection
       and use of user data so future discovery requests can be tailored to Plaintiffs’ better
       understanding of the internal operations of Facebook as well the terminology it uses
       for describing data that is potentially responsive to Plaintiffs’ discovery requests.
       See Discovery Order No. 11 at 1.

        9.     Following Judge Corley’s orders, Facebook did not produce additional documents

in response to Requests for Production Nos. 9-13.

        10.    On October 6, 2021, Special Master Garrie and Judge Andler declared impasse on

the issue of whether Facebook should be compelled to produce additional documents related to

the Named Plaintiffs pursuant to Discovery Order No. 9.

        11.    On October 18, 2021, Plaintiffs submitted their opening brief to Special Master

Garrie on this issue. See Plaintiffs’ Motion to Compel Production of Named Plaintiffs’ Content

and Information. Plaintiffs argue that (a) the court has already determined the information

Plaintiffs seek is relevant—whether or not Facebook claims that it has been shared; (b) whether

the Named Plaintiffs’ information was shared is a contested question on which Plaintiffs are

entitled to evidence; (c) Facebook has failed to substantiate a disproportionate burden in




                                                  3
     AMENDED ORDER AS OF DECEMBER 29, 2021 RE: PLAINTIFFS’ MOTION TO COMPEL
                        PRODUCTION OF PLAINTIFF DATA
         Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 5 of 9




identifying the data it possesses relating to nine people; and (d) Plaintiffs have made proposals to

reduce the burden of production on Facebook. Id.

        12.    On October 28, 2021, Facebook submitted its Opposition to Plaintiffs’ Motion to

Compel Production of Named Plaintiffs’ Content and Information. See Opposition to Plaintiffs’

Motion to Compel Production of Named Plaintiffs’ Content and Information. Facebook argues,

among other things, that (a) the scope of discovery is limited to information Facebook shared with

third parties; (b) Plaintiffs are judicially estopped from seeking information that was not shared;

and (c) the information Plaintiffs now seek is nonresponsive and otherwise unavailable. Id.

        13.    On November 2, 2021, Plaintiffs submitted their Reply in which they argue, among

other things, (a) Judge Corley’s orders entitle Plaintiffs to the discovery they seek; (b) Plaintiffs

are entitled to probe Facebook’s assertion that it has already produced all the content and

information it has shared or made accessible to third parties; (c) Plaintiffs are entitled to answers

to Interrogatories 16 and 17; and (d) the relief Plaintiffs are requesting is intended to lighten

Facebook’s burden. See Reply in Support of Plaintiffs’ Motion to Compel Production of Named

Plaintiffs’ Content and Information.

        14.    Facebook subsequently objected to Plaintiffs reply claiming that Plaintiffs

introduced new arguments and evidence for the first time, in violation of the Discovery Protocol.

See Facebook’s Response to Plaintiffs’ Objection Regarding Named Plaintiffs’ Data Briefing

(“Plaintiffs sought new relief and introduced twelve new documents that Plaintiffs suddenly

claim show gaps in Facebook’s productions.”).

        15.    On November 29, 2021, Special Master Garrie issued an Order Re: Plaintiff’s

Motion to Compel Plaintiff Data.




                                                 4
     AMENDED ORDER AS OF DECEMBER 29, 2021 RE: PLAINTIFFS’ MOTION TO COMPEL
                        PRODUCTION OF PLAINTIFF DATA
         Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 6 of 9




        16.    On December 10, 2021, Facebook submitted a Motion for Reconsideration of the

Order Re: Plaintiff’s Motion to Compel Plaintiff Data.

                                            FINDINGS

        17.    Special Master Garrie finds that Discovery Order No. 9 does not limit the scope of

discoverable data related to the Named Plaintiffs to data that was shared with third parties, as

Facebook contends, because Judge Corley’s ruling contains no language indicating such a

limitation: “Accordingly, the court rules the discoverable user data at issue includes: [1] Data

collected from a user’s on-platform activity; [2] Data obtained from third parties regarding a user’s

off-platform activities; and [3] Data inferred from a user’s on or off-platform activity.” See

Discovery Order No. 9 at 2.

        18.    Moreover, Judge Corley clarified that Facebook’s interpretation of Discovery

Order No. 9 is not what Judge Corley intended: “How [Facebook] specifically uses this data is an

open question, but if the Court were to accept Facebook’s arguments about the scope of production,

it would eliminate Discovery Order No. 9’s third category of discovery: data inferred from a user’s

on or off-platform activity.” See Discovery Order No. 11, at 1.

        19.    Special Master Garrie finds that Facebook appears to maintain data related to the

Named Plaintiffs that was not produced in response Requests for Production Nos. 9-13. See

8/14/2020 Discovery Hearing Transcript at 8:10-13 (“There is other – there’s Facebook-generated

information, information generated by third parties, information received from third parties. We

have not represented that that is comprehensively included in our production.”). For example,

documents produced by Facebook indicate that Facebook collects data referred to as “Appended

Data,” including public records, auto registration data, retail purchases, and credit card purchases,

all of which fall into the second category of data from Discovery Order No. 9. See Plaintiffs’


                                                 5
     AMENDED ORDER AS OF DECEMBER 29, 2021 RE: PLAINTIFFS’ MOTION TO COMPEL
                        PRODUCTION OF PLAINTIFF DATA
         Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 7 of 9




Motion to Compel Production of Named Plaintiffs’ Content and Information, Exhibit 11 (FB-CA-

MDL-00213424). However, Facebook has not produced this data as it is not available via the DYI

Tool. See Facebook’s Opposition to Plaintiffs’ Motion to Compel Production of Named Plaintiffs’

Content and Information, Exhibit B.3

        20.    Special Master Garrie finds that Plaintiffs requested new relief (answers to

Interrogatories 16-17) and introduced new evidence (exhibits C, D, E, F, H, I, and J to Plaintiffs’

Reply) in their Reply brief in violation of the Discovery Protocol. Accordingly, Special Master

Garrie did not consider this request for new relief or the new evidence items in reaching the

findings herein.

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  Facebook also appears to maintain data relating to the Named Plaintiffs’ on-platform activity
that has not been provided, such as inferred interest and behavior data. See Exhibit L.
                                                6
     AMENDED ORDER AS OF DECEMBER 29, 2021 RE: PLAINTIFFS’ MOTION TO COMPEL
                        PRODUCTION OF PLAINTIFF DATA
Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 8 of 9
          Case 3:18-md-02843-VC Document 793 Filed 01/06/22 Page 9 of 9




          23.   Defendants are to make available declarant David Pope to appear before Special

Master Daniel Garrie on January 8, 2022 at 9am PST. If the witness is not available, then the

witness will appear on such other time as agreed upon by the Special Master that is on before

January 14, 2022. The witness is to appear to provide clarification as requested by the Special

Master.




IT IS SO ORDERED.




       Wednesday, December 29, 2021
                                                     Daniel Garrie
                                                     Discovery Special Master




                                                8
     AMENDED ORDER AS OF DECEMBER 29, 2021 RE: PLAINTIFFS’ MOTION TO COMPEL
                        PRODUCTION OF PLAINTIFF DATA
